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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ATTICUS LIMITED LIABILITY COMPANY,                                No. 1:22-cv-10147-DLC

                                  Plaintiff,

         and

 AARON SORKIN,

                                  Involuntary Plaintiff,

         -against-

 THE DRAMATIC PUBLISHING COMPANY,

                                  Defendant.


                               DECLARATION OF KEVIN TOTTIS

        I, Kevin Tottis, declare as follows:

        1.       I am an attorney at TottisLaw, which, along with Goodwin Procter LLP and

McLaughlin & Stern, LLP, is counsel of record for defendant The Dramatic Publishing Company

(“Dramatic”). I make this declaration in support of the motion for summary judgment filed by

Dramatic regarding its statute of limitations defense.

        2.       Atticus’ counsel has stipulated to the authenticity of Exhibits 1, 2, 5, and 6 to this

Declaration and Exhibit 1 to the Declaration of Christopher Sergel III being filed at the same time.

        3.       Attached as Exhibit 1 is a true and correct copy of a January 23, 2019 email from

Scott Rudin to Alvin Deutsch, copying Jonathan Zavin.

        4.       Attached as Exhibit 2 s a true and correct copy of a cease-and-desist letter dated

February 6, 2019 that Atticus sent to the Grand Theater regarding its plan to present the

Christopher Sergel version of To Kill a Mockingbird.
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        5.        Attached as Exhibit 3 is a true and correct copy of the arbitration demand (the

“Arbitration Demand”) that Dramatic filed on March 7, 2019 against the Estate of Nelle Harper Lee

(the “Estate”).

        6.        Attached as Exhibit 4 is a true and correct copy of relevant pages of the transcript

from the May 25, 2023 hearing before the Court.

        7.        Attached as Exhibit 5 is a true and correct copy of an April 18, 2019 email with

attachments from counsel for the Estate to counsel for Atticus attaching a letter with the subject

“Notice of Indemnity Obligation.”

        8.        Attached as Exhibit 6 is a true and correct copy of an April 24, 2019 letter from

counsel for Atticus responding to the Estate’s April 18, 2019 letter.

        9.        Attached as Exhibit 7 is a true and correct copy of the Arbitrator’s January 28, 2022

Final Award of Arbitrator in American Arbitration Association Case Number 01-19-0000-7463,

which contains, as Appendix A, the October 21, 2021 Interim Award of Arbitrator (Corrected)

(collectively referred to as the “Arbitrator’s Award”). Exhibit 7 has been redacted to remove

information the Estate requested be kept confidential.

        10.       Attached as Exhibit 8 is a true and correct copy of an October 7, 2015 email

exchange between Tim O’Donnell, Seth Gelblum, Scott Rudin and Andrew Nurnberg, regarding

Dramatic’s rights under the 1969 Agreement that was previously filed with the Court, ECF No. 60-

10. Atticus’ counsel has stipulated to another email exchange containing the relevant portions of

Exhibit 8 (bottom of page 3 through page 4), but because that email was labelled “confidential” by

the Estate, he could not agree to lift the confidentiality designation. Accordingly, Dramatic has

referenced the publicly-filed document over which there is no dispute as to confidentiality.




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      I declare under penalty of perjury that the foregoing is true and correct.



Executed:       June 2, 2023


                                                                 /s/ Kevin Tottis
                                                                     Kevin Tottis




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